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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION



LEROY CHISHOLM,                           )
                                          )      CASE NO. 4:16cv3052
       Petitioner,                        )
                                          )
   -vs-                                   )
                                          )
WARDEN MERLAK,                            )
                                          )      JUDGE CHRISTOPHER A. BOYKO
       Respondent.                        )
                                          )
                                          )      ORDER


      On December 21, 2016, Petitioner filed a pro se Petition for Writ of Habeas

Corpus pursuant to 28 U.S.C. § 2241 (Dkt. #1). The case was referred to Magistrate

Judge George J. Limbert pursuant to Local Rule 72.2. On June 21, 2017, the

Magistrate Judge recommended that Respondent’s Motion to Dismiss be denied, that

Petitioner’s Petition be construed as a §2255 Motion and transfer the instant case to

the United States District Court Southern District of Georgia (Dkt. # 7).

      FED. R. CIV.P. 72(b) provides that objections to a Report and

Recommendation must be filed within fourteen days after service, but Petitioner has

failed to timely file any such objections. Therefore, the Court must assume that

Petitioner is satisfied with the Magistrate Judge’s recommendation. Any further

review by this Court would be a duplicative and inefficient use of the Court’s limited
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resources. Thomas v. Arn, 728 F.2d 813 (6th Cir. 1984), aff’d, 474 U.S. 140 (1985);

Howard v. Secretary of Health and Human Services, 932 F.2d 505 (6th Cir. 1991);

United States v. Walters, 638 F.2d 947 (6th Cir.1981).

      Therefore, Magistrate Judge Limbert’s Report and Recommendation is

ADOPTED and Petitioner’s Writ of Habeas Corpus (Dkt.#1) is construed as a 28

U.S.C. § 2255 motion. As a 28 U.S.C. § 2255 motion is properly filed in the

jurisdiction where Petitioner was sentenced, the instant case is transferred to the

United States District Court, Southern District of Georgia. Respondent’s Motion to

Dismiss is denied.

      Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an

appeal from this decision could not be taken in good faith, and that there is no basis

upon which to issue a certificate of appealability. 28 U.S.C. §2253(c); Fed. R. App.

P. 22(b).

      IT IS SO ORDERED.

      Dated: 7/10/2017




                                         S/Christopher A. Boyko
                                         CHRISTOPHER A. BOYKO
                                         UNITED STATES DISTRICT JUDGE
